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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

Plaintiff
CERTIFICATE OF SERVICE
“VS-
Case No. 19-CR-227
JOSEPH BONGIOVANNI,
PETER GERACE, JR.

Defendants.

 

I hereby certify that on December 29, 2022, I electronically filed the foregoing Notice of
Motion with the Clerk of the United States District Court, Western District of New York using
the Court’s CM/ECF system, which would then electronically notify the following CM/ECF
participant in this case:

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Dated: December 29, 2022

Amherst, New York
S/ Steven M. Cohen, Esq.

 

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